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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

Maria Hanft                                          Civil Action No. 0:20-cv-2201

              Plaintiff,

vs.                                             COMPLAINT AND DEMAND FOR

Alltran Financial, LP,                                      JURY TRIAL

              Defendant.



                           PRELIMINARY STATEMENT

1.    This is an action for damages brought by Plaintiff Maria Hanft, an individual

      consumer, against Defendant for violations of the Fair Debt Collection Practices

      Act, 15 U.S.C. § 1692 et seq.

                                   JURISDICTION

2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C.

      § 1692k(d).

3.    This action arises out of the Defendant Alltran Financial, LP’s violations of the

      Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (hereinafter

      “FDCPA”).

4.    Venue is proper in this District because the acts and transactions occurred here,

      Plaintiff resides here, and Defendant Alltran Financial, LP transacts business here.
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                                       PARTIES

5.    Plaintiff Maria Hanft (hereinafter “Plaintiff”) is a natural person residing in the

      County of Hennepin, State of Minnesota, and is a “consumer” as that term is

      defined by 15 U.S.C. § 1692a(3).

6.    Defendant Alltran Financial, LP (hereafter “Defendant”), is a Limited Partnership

      and recognized under the laws of Minnesota and it is operating from an address

      1010 Dale Street North, St. Paul, MN 55117.

7.    Defendant is engaged in the collection of debts from consumers using the mail and

      telephone. Defendant regularly attempts to collect consumer debts alleged to be

      due to another. Defendant is a “debt collector” as that term is defined by 15 U.S.C.

      § 1692a(6).

                             FACTUAL ALLEGATIONS

8.    Plaintiff allegedly incurred a financial obligation with USAA Savings Bank,

      which is a creditor as that term is defined by 15 U.S.C. § 1692a(4).

9.    The alleged obligation was primarily for personal, family or household purposes,

      which is an alleged “debt” as that term is defined by 15 U.S.C § 1692a(5), namely

      a consumer debt.

10.   Sometime on or before July 22, 2020, the alleged debt was consigned, placed,

      sold, assigned or otherwise transferred to Defendant for collection from Plaintiff.

11.   On a date after July 22, 2020, Plaintiff received a letter from Defendant notifying

      Plaintiff that the alleged USAA Savings Bank debt was being referred to




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      Defendant for collections from Plaintiff. (See Ex. 1 – July 22, 2020 Letter from

      Defendant).

12.   On or about August 5, 2020, Plaintiff attorney, Blake Bauer, sent a letter of

      representation directly to Defendant and requested that Defendant validate the

      alleged debt. (See Ex. 2 – Letter of Representation).

13.   Plaintiff’s attorney sent the letter of representation by certified mail and had a

      USPS tracking number of 7020 0640 0001 0659 3265. (See Ex. 2 – Letter of

      Representation).

14.   Defendant received the letter of representation on August 11, 2020 at 9:53 a.m.

      (See Ex. 3 – USPS Tracking Confirmation).

15.   On a date after August 24, 2020, Plaintiff received a letter from Defendant dated

      August 24, 2020, notifying Plaintiff that it wished to extend a settlement offer to

      Plaintiff for the alleged USAA Savings Bank debt. (See Ex. 4 – August 24, 2020

      Letter from Defendant).

16.   On or about September 2020, Plaintiff received another letter from Defendant

      dated September 17, 2020, notifying Plaintiff again that it wished to extend a

      settlement offer to Plaintiff for the alleged USAA Savings Bank debt. (See Ex. 5 –

      September 17, 2020 Letter from Defendant).

17.   Defendant’s August 24th and September 17 letters violated 15 U.S.C. §

      1692c(a)(2) because Defendant’s letters communicated with Plaintiff in an attempt

      to collect a debt when Defendant had actual knowledge that Plaintiff was

      represented by an attorney.


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18.   Plaintiff has incurred actual damages in the form of fear of answering the

      telephone, nervousness, as well as, other forms of emotional distress.

19.   Plaintiff has incurred actual damages under the FDCPA in the form of out-of-

      pocket expenses, such as, attorney’s fees, as a result of Defendant’s acts and

      omissions.

                             Respondeat Superior Liability

20.   The acts and omissions of Defendant’s employees who were employed as agents

      by Defendant, and who communicated with Plaintiff as more fully described

      herein, were committed within the time and space limits of their agency

      relationship with their principal, Defendant.

21.   The acts and omissions by Defendant’s employees were incidental to, or of the

      same general nature as, the responsibilities the agents were authorized to perform

      by Defendant in collecting consumer debts.

22.   By committing these acts and omissions against Plaintiff, Defendant’s employees

      were motivated to benefit their principal, Defendant.

23.   Defendant is therefore liable to Plaintiff through the Doctrine of Respondeat

      Superior for the intentional and negligent acts, errors, and omissions done in

      violation of state and federal law by its collection employees, including but not

      limited to violations of the FDCPA and Minnesota law, in its attempts to collect

      this alleged debt from Plaintiff.

                                   TRIAL BY JURY




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24.    Plaintiff is entitled to and hereby demands a trial by jury. US Const. Amend. 7.

       Fed. R. Civ. P. 38.

                                  CAUSES OF ACTION

                                         COUNT I.

                        VIOLATIONS OF THE
      FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692 ET SEQ.

25.    Plaintiff incorporates by reference each and every above stated allegation as

       though fully stated herein.

26.    The foregoing acts of the Defendant constitute distinct violations of the FDCPA

       against the Plaintiff herein, including but not limited to each and every one of the

       above cited provisions of the FDCPA, 15 U.S.C § 1692 et seq.

27.    As a result of said violations, Plaintiff has suffered actual damages in the form of

       fear of answering the telephone, nervousness, amongst other negative emotions,

       and therefore Plaintiff is entitled to actual damages pursuant to 15 U.S.C. §

       1692k(a)(1) of the FDCPA.

28.    As a result of said violations, Plaintiff has incurred out-of-pocket expenses, and

       therefore Plaintiff is entitled to actual damages pursuant to 15 U.S.C. §

       1692k(a)(1) of the FDCPA.

29.    As a result of said violations, Plaintiff is entitled to statutory damages of $1,000.00

       from Defendant, and for Plaintiff’s attorney fees and costs pursuant to 15 U.S.C. §

       1692k(a)(2)(A) and 15 U.S.C. § 1692k(a)(3).




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                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that this Court enter the following

judgment, in Plaintiff’s favor:

                           COUNT I: FDCPA VIOLATIONS

       • For declaratory that Defendant’s conduct violated the FDCPA and injunctive
         relief;
       • For an award of statutory damages of $1,000.00 for the Plaintiff herein, for
         violations of the FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A), against
         Defendant;
       • For an award of costs and reasonable attorneys’ fees under the FDCPA
         pursuant to 15 U.S.C. § 1692k(a)(3), against Defendant, for Plaintiff herein;
       • For an award of actual damages, costs and reasonable attorney fees pursuant to
         15 U.S.C. §1692k(a)(1) against Defendant herein in an amount to be determined
         at trial; and
       • For such other and further relief as may deem just and proper.


Dated: October 20, 2020.                 FIELDS LAW FIRM

                                   By:    s/Blake R. Bauer
                                         Blake R. Bauer (Bar No: 0396262)
                                         Attorneys for Plaintiff
                                         Fields Law Firm
                                         9999 Wayzata Boulevard
                                         Minnetonka, Minnesota 55305
                                         Telephone: 612-206-3489
                                         Fax: 612-370-4256
                                         Email: Blake@FieldsLaw.com




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